                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF WISCONSIN



CHRISTOPHER HOLMBERG,

               PLAINTIFF,

and

FLORENCE HARDWOODS LLC, AND BITCO
NATIONAL INSURANCE COMPANY,                           File No: 22-C-726

               INVOLUNTARY PLAINTIFFS,

v



381572 ONTARIO LIMITED, A CANADIAN
CORPORATION, D/B/A T. S.
MANUFACTURING COMPANY,

               DEFENDANT.




              Plaintiff’s Notice of Dismissal of Complaint

Under Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff
Christopher Holmberg dismisses all causes of action in the complaint
against Defendant 381572 Ontario Limited d/b/a T. S. Manufacturing
Company without prejudice.

Defendant 381572 Ontario Limited d/b/a T. S. Manufacturing Company
nor has either involuntary plaintiff answered or filed a motion for summary




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judgment as to the claims raised in the complaint. Dismissal under Rule
41(a)(1) is, therefore, appropriate.


Dated: July 7, 2022                    Petrucelli & Waara, P.C.
                                       Attorneys for Plaintiff


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